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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


NIKE, INC and CONVERSE, INC.,
                                             Case No. 13 Civ. 8012 (CM) (DCF)
Plaintiffs,

v.                                           ORAL ARGUMENT REQUESTED

Maria WU et al.

Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF NONPARTY BANKS’ REPLY IN
     SUPPORT OF MOTION TO QUASH SUBPOENAS AND TO MODIFY THE FINAL
       ORDER AND OPPOSITION TO ASSIGNEE’S CROSS-MOTION TO COMPEL
                       PRODUCTION OF DOCUMENTS


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                                          China Limited
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       Agricultural Bank of China, Bank of China, Bank of Communications, China

Construction Bank, China Merchants Bank, and Industrial and Commercial Bank of China

Limited, nonparties to this action (collectively, the “Banks”), respectfully submit their Reply

Memorandum of Law in Support of their Motion to Quash Subpoenas and Modify Final Order

(“Motion to Quash”) and Memorandum in Opposition to Plaintiff-Assignee, Next Investments,

LLC’s (“Next” or “Assignee”) Cross-Motion to Compel Production of Documents (“Motion to

Compel”).1

                               PRELIMINARY STATEMENT

       The fundamental issue here is straightforward. The Banks cannot comply with the

Subpoenas or the Final Order entered in this action without violating the Chinese laws under

which they are organized and to which they are subject. The only way that the Banks can

produce the information requested by Assignee without violating Chinese law is via a request

made pursuant to the Hague Convention on the Taking of Evidence Abroad in Civil and

Commercial Matters (the “Hague Convention”). Indeed, the Banks are ready and willing to

provide information in response to a Hague Convention request. Moreover, because China

processes Hague Convention requests as quickly as—if not more quickly than—the United

States does, and plaintiffs in similar cases have obtained favorable results via the Hague

Convention process, proceeding via that route to obtain the discovery sought herein would be

more efficient and expedient than the instant proceeding. Requiring Assignee to proceed via the

Hague Convention would not only conserve judicial resources, it would allow Assignee to obtain

the information it seeks, would solve the Banks’ Chinese law dilemma, and would spare this

Court the need to reach a decision that either denies Assignee all of the information it seeks on

1
   This Court granted the Banks’ request to file an enlarged 35-page brief in response to
Assignee’s Opposition to the Motion to Quash and Motion to Compel. ECF Nos. 79-80.
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jurisdictional and comity grounds (which the Banks submit is the correct outcome), or results in

an unnecessary affront to a sovereign nation.

         Nothing in Assignee’s opposition to the Banks’ Motion to Quash or Cross-Motion to

Compel alters the calculus here.2 Neither the Subpoenas, nor the Final Order, are enforceable

because the Court cannot exercise personal jurisdiction over the Banks. Assignee has submitted

records purporting to demonstrate the Banks’ connections with New York—including records of

correspondent account transfers, credit card transactions, promotional materials, and property

records. These alleged connections are insufficient to establish jurisdiction because they either

do not show “purposeful availment” in New York, or have no connection to the underlying

dispute (or the subject matter of the discovery requests).

         For example, Assignee has submitted hundreds of wire transfer records in support of its

argument for specific jurisdiction. These records show that third parties (outside of New York

and generally outside of the U.S.) directed wire payments to Judgment Debtors’ bank accounts,

maintained at the Banks, in China. Assignee claims that these wire transfers give rise to specific

jurisdiction over the Banks because the wired funds were routed through the Banks’

correspondent accounts, maintained at wholly separate U.S. banks in New York. However, the

mere receipt of funds into a foreign bank’s correspondent account at a U.S. bank in New York (a

routine business occurrence for foreign banks everyday) is not a basis for finding “purposeful

availment” in New York.

         The same is true with regard to the credit card transactions that Assignee has presented to

the Court. Although these records indicate that certain of the Banks acted as acquiring banks

(i.e., processors of credit card payments) in the Visa and MasterCard network for the Judgment



2
    ECF No. 87, Opposition to Motion to Quash and Cross-Motion to Compel, hereinafter “Opp.”
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Debtors, there is no indication that the Banks provided any of these services to the Judgment

Debtors outside of China. As such, those services cannot form the basis for the exercise of

jurisdiction over the Banks. The fact that MasterCard is based in New York is of no relevance to

the jurisdictional analysis (and Visa is not based in New York), which must focus on the contacts

that the Banks maintain with the forum and the relationship that those contacts have with the

subject matter of the discovery requests at issue.

       Enforcing the Subpoenas and Final Order would also violate principles of comity. This is

especially true given that the Hague Convention provides an alternative to U.S. discovery

proceedings, particularly here where the Banks have agreed to cooperate with Assignee on such

a request.   Assignee’s complaints about the time necessary to process Hague Convention

requests in China (even though the average processing time for such requests in China is no

longer than the average processing time in the U.S.) do not justify an end-run around the Hague

Convention. Indeed, the timeframe for a Hague Convention request may well be shorter when

one factors in the time spent on these Cross-Motions and any subsequent appeal thereof.

       A comity analysis also compels the conclusion that China’s interests here outweigh the

U.S. policy interests at issue. As regulated and state-owned financial institutions based in China,

the Banks must abide by Chinese banking laws and regulations. These laws and regulations

permit the disclosure of account information or the restraint of such accounts only pursuant to a

Chinese court order or authorization by the relevant Chinese authorities. The fact that the

Chinese Ministry of Justice has written to this Court to express its opposition to the Subpoenas

and the Final Order underscores the significance of China’s interests here.

       The U.S.’s interests here are secondary. Although the U.S. has an interest in enforcing

the rights of trademark holders, that interest is substantially diluted by the time it reaches the


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Banks. The Banks did not violate any U.S. trademarks. The Banks are innocent third parties

who may have information that may lead to the recovery of certain funds belonging to the

Judgment Debtors. In addition, the original trademark holders in this action have transferred

their rights to the judgment to the Assignee, who has no interest in enforcing intellectual

property rights. As an entity created by and associated with a third party litigation funder,

Assignee’s only interest is in obtaining a return on its investment. At heart, what is at stake here

are the commercial interests of a litigation funder seeking to recover a piece of a $1.8 billion

default judgment entered against hundreds of defendants who have never appeared before the

Court in this action. These interests are simply insufficient to justify the issuance of a U.S. court

order compelling six of China’s largest banks to openly defy the laws of their home country.

       In light of these considerations, Assignee’s demands for the global discovery of

Judgment Debtor bank accounts pursuant to the Subpoenas should be quashed and its Motion to

Compel denied. If Assignee wants the disclosure of customer account information in China, it

should proceed under the Hague Convention. Moreover, the Final Order should be modified to

prevent its application to the Banks outside of New York.

                                          ARGUMENT

I.     THE BANKS ARE NOT SUBJECT TO SPECIFIC PERSONAL JURISDICTION
       IN NEW YORK

       The touchstone of any specific personal jurisdiction analysis is that “the defendant’s suit-

related conduct must create a substantial connection with the forum state” and that the

relationship between the defendant and the forum “must arise out of contacts that the defendant

himself creates with the forum. . . .” Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014) (emphasis

added). The New York contacts alleged by Assignee do not satisfy these requirements because

they either (1) are not “substantial connections” with the forum state, or (2) do not arise from

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purposeful actions taken by the Banks. Accordingly, the exercise of specific jurisdiction based

on these connections would violate the minimum contacts requirements under due process and,

additionally, fail to comport with traditional notions of fair play and substantial justice.3

         A. The Banks’ New York Correspondent Accounts Do Not Give Rise to Specific
            Personal Jurisdiction

         Assignee accuses the Banks of being “less than candid” with the Court because they did

not disclose the existence of records showing that wire payments to the Judgment Debtors were

routed through the Banks’ correspondent accounts in New York. Opp. at 12. It is Assignee that

is not being candid. Any correspondent account transaction records are maintained by the Banks

in China, or in the files of completely separate U.S. banks (e.g., Chase and Citi).             See

Declaration of Robert Almanas (“Almanas Decl.”) ¶¶ 34, 47, 49;4 Chen Decl. ¶ 6. None of these

records is maintained by the Banks in New York, in their New York branches or otherwise. That

is why they were not discovered or disclosed when the New York branches of the Banks

voluntarily undertook a search of their records for documents relating to Judgment Debtors.

         Correspondent banking is an arrangement under which one bank (the correspondent

bank) holds deposits owned by another bank (the respondent bank) and provides payment and

other services to the respondent bank. See Almanas Decl. ¶ 27. It generally involves the

“opening of accounts by respondent banks at the correspondent banks and the exchange of

messages to settle transactions by crediting and debiting those accounts.” Id. By opening a

correspondent account at a U.S. financial institution, a non-U.S. respondent bank can make and

receive payments in U.S. dollars. Id. ¶ 31, 33. It is an arms’ length account arrangement


3
  Personal jurisdiction under the New York long arm statute also fails. Motion to Quash at 9-10
(noting that the personal jurisdiction standards under N.Y. C.P.L.R. § 302(1) and minimum
contacts under due process are similar).
4
    The declarations filed herewith are cited by reference to the Declarant’s surname and “Decl.”
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between the two banks. Virtually every major bank in the world has a correspondent account

with a U.S. bank. Almanas Decl. ¶ 34, 51.

       Assignee’s reliance on the correspondent account records pertaining to all of the Banks

(except Agricultural Bank of China) as a basis for specific jurisdiction is misguided. These wire

transfer records indicate only that payments to certain Judgment Debtors were received into the

Bank’s correspondent account at an unrelated bank in New York as part of the routine and

automated processing of U.S. dollar transactions. The correspondent banks then instructed the

Banks to credit the payments to the Judgment Debtor accounts maintained in China. The mere

receipt of debit and credit instructions from an independent bank do not support jurisdiction here.

The Banks, like all international banks, need to be able to clear transactions in U.S. dollars.

Utilizing a third-party bank located in New York to process such transactions does not constitute

purposely directing one’s activities to this forum. See Burger King Corp. v. Rudzewicz, 471

U.S. 462, 472 (1985) (The minimum contacts inquiry turns on whether the entity over whom

jurisdiction is sought “‘purposefully directed’ [its] activities at … the forum.”).

                     1. The Receipt of Wire Transfer Funds Into New York Correspondent
                        Accounts Does Not Constitute “Purposeful Availment” In New York

       The flaws in Assignee’s position become clear when one considers the mechanics of the

wire transfer process in the correspondent banking relationship. These “transfers” do not involve

the physical movement of funds from one location to another. Rather, funds “move” from one

account to another through a series of discrete book entries. The party initiating a wire transfer

instructs its bank (the “Originating Bank”) to pay a beneficiary, using payment instructions that

identify the beneficiary’s bank account and the amount to be paid. Almanas Decl. ¶ 39. If the

beneficiary’s bank is a non-U.S. bank, the Originating Bank will credit the funds into the U.S.



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correspondent account of the non-U.S bank.5 Almanas Decl. ¶ 40, 41.          Thereafter, the funds

stay in the non-U.S. bank’s U.S. correspondent account and the U.S. correspondent bank notifies

the non-U.S. bank that its correspondent account has been credited with the payment amount. Id.

¶¶ 41, 42. The non-U.S. bank then enters a corresponding credit entry in its books and records

relating to the beneficiary’s account. Id. ¶ 42, 43. The only affirmative action that the non-U.S.

bank takes with regard to its customer—the crediting of the customer’s account—takes place

outside of New York. Id. ¶¶ 42-43, 45. As such, there is no purposeful conduct by the non-U.S.

beneficiary bank within New York.

       The transaction described above is also highly automated. Once a non-U.S. bank has

established a correspondent account in the U.S., it does little to maintain the account, which is

hardly more than a mailbox for U.S. dollar transactions. Id. ¶ 18, 36. Moreover, these are high

volume transactions. Significant numbers of correspondent banking transactions take place

across a large score of U.S. correspondent accounts maintained at U.S. financial institutions

(most of which are located in New York) on any given business day. Id. ¶ 46. These routine

transactions enable the flow of U.S. dollars across international borders and are crucial to the

global funds transfer system. Id. ¶ 30.

       In light of the nature and context of these transactions, the wire transfer records submitted

by Assignee—no matter how voluminous—are red herrings in the jurisdictional analysis. The

records reflect nothing more than routine wire transfers in which the Banks are passive actors;

the Banks themselves do not transfer funds, nor do they direct the transfer of funds to their

customer accounts overseas. Assignee accuses the Banks of “effectuat[ing]” or “facilitat[ing]”


5
   If the Originating Bank is not in the United States, it will credit the funds to its own U.S.
correspondent account, which in turn will credit the funds to the U.S. correspondent account of
the non-U.S. beneficiary bank. Almanas Decl. ¶¶ 40-42.
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wire transfers to the Judgment Debtors in New York. Opp. at 12-13. But everything that

happens in New York is actually the result of choices and decisions made by the Originator or

Originating Bank and is executed by the correspondent bank, which then simply informs the

Banks in China that a payment has been made. Notably, none of this activity is carried out by

the New York branches of the Banks, which underscores that the Banks engage in no conduct in

New York in connection with these correspondent transactions. This limited activity cannot

form the basis for finding that the Banks have engaged in purposeful conduct in New York.

       Accordingly, courts in this jurisdiction have long held that the “mere maintenance” of

correspondent accounts in New York cannot be a basis for specific jurisdiction. See Amigo

Foods Corp. v. Marine Midland Bank, N.Y., 39 N.Y.2d 391, 396 (N.Y. 1976) (“Standing by

itself, a correspondent bank relationship … may not form the basis for long–arm jurisdiction.”);

Tamam v. Fransabank SAL, 677 F. Supp.2d 720, 727 (S.D.N.Y. 2010) (“courts in this district

have routinely held that merely maintaining a New York correspondent bank account is

insufficient to subject a foreign bank to personal jurisdiction.”); Licci v. Lebanese Canadian

Bank, 732 F.3d 161, 171 (2d Cir. 2013) (“Licci III”) (“[W]e by no means suggest that a foreign

defendant’s mere maintenance of a correspondent account in the United States is sufficient to

support … personal jurisdiction … in connection with any controversy.”); see also Monkton Ins.

Servs. v. Ritter, 768 F.3d 429, 431, 433-34 (5th Cir. 2014) (holding that 20 wire transfers sent

via an account maintained at third-party defendant bank—but not initiated by the third-party

defendant bank itself—into the jurisdiction over a three year period formed an insufficient basis

for exercising specific jurisdiction over the wiring bank).

                     2. Gucci v. Li Does Not Change The Analysis

       Assignee would have this Court reject decades of this settled authority on the basis of


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Gucci Am., Inc. v. Li, 135 F. Supp. 3d 87 (S.D.N.Y. 2015) (“Gucci”).6 In Gucci, another court

in this district found that there were grounds to assert specific jurisdiction over Bank of China,

on the basis of several wire payments that were received into its correspondent account at JP

Morgan in New York. Id. at 104. Respectfully, however, the Gucci court’s finding was

premised on a misapplication of the prevailing case law, mistaken assumptions about Bank of

China’s role in the payment process, and the improper conflation of other irrelevant New York

contacts into its jurisdictional analysis. No court in this district or any other federal district court

has adopted Gucci in support of the conclusion that the routine receipt of wire payments into a

correspondent bank account can serve as the basis for personal jurisdiction.

       First, Gucci incorrectly concluded that the New York Court of Appeals and Second

Circuit decisions in the Licci cases dictated a finding that Bank of China’s use of its

correspondent accounts gave rise to specific jurisdiction. Licci v. Lebanese Canadian Bank

SAL, 20 N.Y.3d 327, 338-39 (N.Y. 2012) (“Licci II”); Licci III, 732 F.3d 161, 166 (2d. Cir.

2013). The correspondent account transactions at issue in Licci, and the facts surrounding them,

however, differ significantly from the facts at issue in Gucci (and here). In Licci, plaintiffs

alleged that a non-U.S. bank, Lebanese Canadian Bank, SAL (“LCB”), had itself violated the

Anti-Terrorism Act by knowingly assisting an affiliate of Hizbollah, a known terrorist

organization, to commit acts of terror. Licci v. Lebanese Canadian Bank, SAL, 673 F. 3d 50, 54-

55 (2d Cir. 2012) (“Licci I”). The court held there was a basis to exercise specific jurisdiction

over LCB because it had, allegedly, “deliberately used a New York [correspondent] account

6
  In an attempt to suggest that this Court should be bound by Gucci, Assignee asserts that the
Second Circuit “rejected” Bank of China’s appeal of Gucci. Opp. at 12, n.6. This is incorrect.
The Second Circuit denied Bank of China’s motion to stay contempt sanctions pending appeal
and ordered an expedited appeal. Supplemental Declaration of Jacqueline L. Chung (“Chung
Supp. Decl.”) Ex. 24. Thereafter, Bank of China voluntarily dismissed its appeal. Chung Supp.
Decl. Ex. 25.
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again and again to effect its support of [the Hizbollah affiliate] and shared terrorist goals.”7

Licci II, 20 N.Y. 3d at 340. The complaint also alleged that Hizbollah “made and received

dozens of dollar wire transfers via . . . LCB.” Chung Supp. Decl. Ex. 26 at ¶ 53 (Licci First

Amended Compl.). LCB was therefore alleged to have initiated the illegal payments through its

correspondent account in furtherance of its alleged support of a terrorist organization. Thus,

even though the Licci court acknowledged that the mere maintenance of a correspondent account

does not give rise to specific jurisdiction, it found sufficient allegations of bad acts by LCB itself

to warrant a departure from this well-established standard. Licci III, 732 F.3d at 171, 173-74.

       In Gucci, as in this case, Bank of China did not initiate any payments through its

correspondent account on behalf of the defendants, and Bank of China, like the Banks here, was

not a defendant and was not accused of any wrongdoing. See ECF No. 72, at 15-28, Declaration

of Jacqueline L. Chung (“Chung Decl.”), Ex. 14-1. Unlike Licci, the passive transactions in

Gucci did not warrant a departure from that baseline standard regarding the “mere maintenance”

of correspondent accounts, and neither do the transactions here. The Banks did not “use” their

correspondent accounts to participate in or further the Judgment Debtors’ counterfeiting scheme

in the manner that LCB allegedly “used” its correspondent accounts to make payments to and for

a terrorist organization. The Banks did not provide any “financial support” to the counterfeiters,

wittingly or unwittingly. The Banks merely credited money to customer accounts in China based


7
    The Second Circuit noted that the allegations against LCB were that “LCB had ‘actual
knowledge’ that Hizbollah was a violent terrorist organization . . . and that Shahid [a Hizbollah
affiliate] was ‘part of Hizbollah’s financial arm.’” Licci I, 673 F. 3d at 57; see also Chung Supp.
Decl. Ex. 26 ¶¶ 130, 135 (Licci First Amended Compl.). Moreover, the plaintiffs alleged that the
bank, as a matter of ‘official LCB policy’ ‘continuously supports and supported Hizbollah and its
anti-Israel program, goals and activities.” Id. ¶ 126. In particular, the plaintiffs allege that LCB
carried out the wire transfers ‘in order to assist and advance Hizbollah’s goal of using terrorism
to destroy the State of Israel.’ Id. ¶ 129.” Licci I, 673 F. 3d at 57 (emphasis added). These facts
bear no relation to those present in this case.
                                                 10
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on instructions given by their correspondent banks who happened to be located in New York.

These correspondent accounts were simply repositories for funds directed to the Judgment

Debtors by outside parties.8

       Second, Gucci incorrectly concluded that in light of Licci, evidence of repeated

correspondent account transactions is sufficient to show the kind of deliberate conduct that is

required to establish specific jurisdiction. Gucci, 135 F. Supp. 3d at 95 (“[T]here can be no real

dispute that BOC frequently and deliberately used its New York correspondent account with

Chase to effectuate wire transfers for its U.S. clients, including, critically, Defendants in this

action.”). While there is no dispute that the transactions at issue are repetitive, it is simply

incorrect to conclude that, because of that repetition, they are also deliberate or purposeful. This

is especially true in the context of correspondent banking, which by its nature consists of the

automated processing of large volumes of wire transfers that require no input from the non-U.S.

bank receiving the transfer. Almanas Decl. ¶¶ 18, 36. There is no assertion of intentional or

purposeful conduct here and no amount of repeated activity can make up for the absence of this

essential element of the jurisdictional analysis. See SAS Group, Inc. v. Worldwide Inventions,

Inc., 245 F. Supp. 2d 543, 548 (S.D.N.Y. 2013) (“It is the ‘nature and quality’ and not the

amount of New York contacts that determine the purposeful activity.”).

       Third, Gucci incorrectly concluded that the opening of a correspondent account in New

York is a sufficient basis upon which to establish specific jurisdiction because the account

8
   More recently, in Rushaid v. Pictet, 28 N.Y.3d 316, 319, 328 (N.Y. 2016) the New York
Court of Appeals held that there was a basis to assert specific jurisdiction over a foreign bank
that plaintiff alleged had repeatedly and intentionally used a New York correspondent account as
an “integral” part of a fraudulent scheme to wire bribes to the foreign bank’s account. The
foreign bank was alleged to have “orchestrated the money laundering.” Id. at 328. Like Licci,
Rushaid is therefore inapposite because there is no allegation (indeed no suggestion) that the
Banks knowingly used their correspondent accounts to facilitate transfers on behalf of the
counterfeiters, let alone that such transfers were an “integral” part of Judgment Debtors’ scheme.
                                                11
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enables the non-U.S. bank to “transfer . . . money from its clients’ bank accounts in the United

States to their accounts abroad.” Gucci, 135 F. Supp. 3d at 95; see also Opp. at 12 (noting that

the Banks “open[ed] correspondent accounts with New York banks ‘to repeatedly facilitate the

transfer of money from’ accounts held by counterfeiters like the Judgment Debtors.” (quoting id.

at 95)). The Banks entered into correspondent banking relationships, however, to receive U.S.

dollar payments with respect to any and all transactions. Almanas Decl. ¶ 31. The Banks’

correspondent accounts are omnibus accounts; they bear no relationship to any particular client.

Id. ¶¶ 41-44. These accounts have no purposeful connection to the Judgment Debtors and

certainly no purposeful connection to any counterfeiting transactions.

       Fourth, Gucci incorrectly held that Bank of China’s marketing activities relating to its

correspondent banking services provided a basis for jurisdiction because “[s]uch marketing

apparently captivated Defendants,” who used BOC’s correspondent banking account with J.P

Morgan Chase to transfer money to China. Gucci, 135 F. Supp. 3d at 94.9 Just as the opening

and maintenance of a correspondent account are not a basis for specific jurisdiction, the

advertising of correspondent account services does not give rise to jurisdiction either. While

advertising activities might suffice to establish specific jurisdiction for claims relating to the

advertising (e.g., a claim for false advertising or misrepresentation), such activities do not open

the door for a U.S. court to exercise personal jurisdiction for all purposes. There is no suggestion

that the Banks targeted counterfeiters to assist with their counterfeiting activities. The marketing

9
  The wire transfers in Gucci involved transfers of funds from the defendant counterfeiter’s bank
accounts at U.S. financial institutions into Bank of China’s correspondent account in New York,
before being transferred to the defendants’ accounts at Bank of China in Beijing. Gucci Am.,
Inc. v. Weixing Li, 2012 WL 5992142, at n. 2 (S.D.N.Y. Nov. 15, 2012) (“Gucci II”). By
contrast, none of the wire transfers here are transfers between the Judgment Debtors’ accounts.
Rather, they are wire payments from third parties to the Judgment Debtors’ bank accounts in
China that have been routed through the Banks’ correspondent accounts in New York. See, e.g.,
Weigel Decl. Exs. 33, 49-62, 83-85, 104-108.
                                                12
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materials submitted by Assignee demonstrate that the Banks were simply marketing

correspondent account activities and other banking services to the general public. See Weigel

Decl. Exs. 17-31, 41-47, 70-80, 92-101, 116-122, 233-244; see also Grossbaum Decl. Ex. 1.

       At bottom, the Banks respectfully submit that Gucci was wrong to conclude that a non-

U.S. bank “deliberately thrust[s] itself into the New York financial market” in such a way that it

becomes subject to the personal jurisdiction of this court when it opens a correspondent account

in New York and permits third parties to wire transfers through that account. Gucci, 135 F.

Supp. 3d at 95. The decision ignores the differences between a non-U.S. bank’s deliberate use of

correspondent accounts to make payments in support of an illegal enterprise, and the routine

receipt of wire payments into a non-U.S. banks’ correspondent account at the direction of

another party. This Court is not bound by the Gucci analysis and it should decline to follow it, as

other courts in this circuit have recently done.10 See Hau Yin To v. HSBC Holdings, PLC, 700

Fed. Appx. at 67 (2d Cir. 2017) (affirming dismissal of claims against non-U.S. bank because

“[p]laintiffs have not alleged the kind of intentional and repeated use of correspondent accounts

that amounts to a transaction of business”) (citing Rushaid, 28 N.Y. 3d at 328-29, 339); SPV

OSUS, Ltd. v. UBS AG, 882 F.3d 333, 345 (2d Cir. 2018) (declining to exercise specific

jurisdiction on the basis of “a handful of communications and transfers of funds.”); In re

Terrorist Attacks on Sept. 11, 2001, 2018 WL 1631450, *7 (S.D.N.Y. Mar. 28, 2018) (no

specific jurisdiction against non-U.S. bank where allegations were “only that third parties used

the [non-U.S. bank] to transfer money to al Qaeda.”) (emphasis in original).


10
   See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (“A decision of a federal district court
judge is not binding precedent in either a different judicial district, the same judicial district, or
even upon the same judge in a different case.”).


                                                 13
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       B. Bank of China’s Role as an Intermediary Bank Does Not Give Rise to a Basis
          for Specific Jurisdiction

       Bank of China’s New York branch (“BOC NY”) has voluntarily produced records of

wire transfers for which BOC NY served as an intermediary bank. An intermediary bank serves

as a payment conduit between an originator bank and a beneficiary’s bank for wire transfers.

Almanas Decl. ¶ 52. BOC NY’s involvement in these transactions is limited to receiving U.S.

dollar payments from another U.S. bank, via both banks’ membership in domestic U.S. payment

channels such as CHIPS and Fedwire. Id. ¶¶ 54-56. BOC NY has no relationship with the

ultimate beneficiary for whom the funds are intended and does not maintain an account on behalf

of the beneficiary. Id. ¶ 19, 52.

       Thus, similar to the way in which funds are directed into a U.S. correspondent account by

outside parties, BOC NY’s receipt of funds as an intermediary is entirely passive and cannot be

the basis for specific jurisdiction. See Bluewaters Communications Holding v. Ecclestone, 2014

N.Y. Misc. LEXIS 208, *23 (Sup. Ct. N.Y. Cnty. 2014) (Chung Supp. Decl. Ex. 27) (“Even if

the funds for these two payments cleared through a bank in New York, they did not end up here

and the clearing process alone . . . would not be enough to support . . . [personal] jurisdiction

over any of the defendants.”); Gliklad v. Bank Hapoalim B.M., 2014 N.Y. Misc. LEXIS 3600,

*8 (Sup. Ct. N.Y. Cnty. 2014) (Chung Supp. Decl. Ex. 28) (finding no basis for specific

jurisdiction over a foreign bank whose New York branch served as an intermediary in a wire

transfer because to exert jurisdiction over a “regularly available banking service would permit

the extension of jurisdiction to a degree that would most certainly violate notions of ‘fair play

and substantial justice’”).




                                               14
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       C. Agricultural Bank of China, Bank of China, and Bank of Communications’ Role
          as Acquiring Banks for Credit Card Transactions in China Does Not Give Rise
          to a Basis for Specific Jurisdiction11

       Assignee argues that Agricultural Bank of China, Bank of China, and Bank of

Communications, by virtue of acting as “acquiring banks” for the MasterCard and Visa

networks, should be subject to personal jurisdiction here.12 Opp. at 15-16. Assignee’s argument

suffers the same defect as its correspondent account argument: these three banks’ roles as

acquiring banks simply do not establish the requisite connection with New York to justify the

exercise of personal jurisdiction. Burger King Corp., 471 U.S. at 472 (under the minimum

contacts inquiry, the litigation must “result[] from alleged injuries that ‘arise out of or relate to’”

activities within the forum) (citations omitted).

       Assignee submits five exhibits as evidence of Agricultural Bank of China,13 Bank of

China,14 and Bank of Communications acting as acquiring banks, Grossbaum Decl. Ex. 2, but


11
    China Construction Bank, China Merchants Bank, and Industrial and Commercial Bank of
China Limited are not alleged to have engaged in any transactions as acquiring banks relating to
the Judgment Debtors.
12
   An acquiring bank “acts as liaison between the network and those merchants accepting the
network’s payment cards.” United States v. Visa U.S.A., Inc., 344 F.3d 229, 235 (2d Cir. 2003);
see also Almanas Decl. ¶¶ 65, 68.
13
   The “evidence” of Agricultural Bank of China acting as an acquiring bank is scant: just four
credit card transactions totaling $326.65 from 2013—that is, almost five years ago. Weigel Decl.
Ex. 245. Given the passage of time, there is little support for Assignee’s argument that it is
“extremely likely that ABC” will “have valuable information on the identity, business activities,
and even location of one or more [Judgment Debtors].” Opp. at 16 (citing Tiffany (NJ) LLC v.
Forbse, 2012 WL 1918866, *2, *5 (S.D.N.Y. May 23, 2012)).
14
    Assignee submits records produced by MasterCard and Visa relating to BOC Credit Card
(International) Limited (“BOC Credit Card”). BOC Credit Card, a wholly-owned subsidiary of
BOC, Hong Kong, is a separate legal entity from BOC. See Chung Supp. Decl. Ex. 29; Xue
Decl. ¶ 21. Accordingly, BOC Credit Card’s alleged contacts with the forum cannot be imputed
to BOC. Nursan Metalurji Endustrisi A.S. v. M/V “Torm Gertrud”, 2009 WL 536059, *3
(S.D.N.Y. Feb. 27, 2009) (holding that Defendant is not subject to personal jurisdiction in New
York because Plaintiff failed, inter alia, to “allege any basis for treating the two separate
entities”—the Defendant and its wholly owned subsidiary—as “one for the purposes of
                                              15
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none of these documents indicates transactions with any apparent connection to New York. For

example, Assignee points to a 57-page list of MasterCard transactions, see Nagin Decl. Ex. 2, yet

nothing on this list shows a New York nexus. Indeed, nothing on this list even shows a

connection with the Judgment Debtors. The document simply lists a series of credit card

transactions where the issuing country for each transaction was the U.S. and the acquiring

country (i.e. where acquiring bank services were actually performed) was China, but does not

identify the merchants associated with any specific transaction. Assignee’s other exhibits are

equally unavailing, and none demonstrate that the Banks provided any services to the Judgment

Debtors outside of China.

         Assignee cannot establish that specific jurisdiction is warranted simply because

MasterCard is based in New York. That would make every bank that participates as an acquiring

bank for MasterCard subject to jurisdiction in New York for any dispute relating to a credit card

transaction on that basis alone. Such a finding would not comport with the requirements of due

process, because the “unilateral activity of another party or a third person is not an appropriate

consideration when determining whether a defendant has sufficient contacts with a forum State

to justify an assertion of jurisdiction.” Helicopteros Nacionales de Colombia, S.A. v. Hall, 466

U.S. 408, 417 (1984).

         The Banks have all confirmed that their acquiring bank activities are conducted only

domestically in China.15 Although Assignee has not explained the connection between these

acquiring bank activities and New York (other than the location of MasterCard’s headquarters),

there is simply no basis to conclude that these transactions constitute “purposeful availment” in



determining personal jurisdiction.”).
15
     Shang Decl. ¶¶ 5-10; Xue Decl. ¶ 20; Shi Decl. ¶¶ 5-11.
                                                16
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New York.16 See Project Honey Pot v. John Does, 2012 WL 1854184, *7 (E.D. Va. May 21,

2012) (no basis for specific jurisdiction over non-U.S. banks who provided acquiring bank

services for online merchants of counterfeit drugs because there was no evidence the banks knew

the merchants were targeting the forum and exercising jurisdiction “merely because … the banks

are members of the global Visa system would essentially subject all acquiring banks to

jurisdiction anywhere in the world.”); Fin. Inst. Track Litig. v. Heartland Bank, 2011 WL

1232352, *13 (S.D. Tex. Mar. 31, 2011) (no basis for specific jurisdiction in Texas over

Missouri-based acquiring bank participating in the Visa and MasterCard networks).

       Assignee also cites license agreements that Bank of China and Bank of Communications

entered into with MasterCard, along with MasterCard’s and Visa’s rules, as further evidence in

support of jurisdiction on the basis that these agreements and rules are purportedly governed by

New York law. See Nagin Decl. Exs. 1, 2; Weigel Decl. Exs. 248, 255. Assignee states that,

pursuant to the licenses, “the Banks consent to personal jurisdiction in New York for all disputes

arising out of those agreements,” as though that fact should establish jurisdiction here. Opp. at

16. This is specious. The dispute here does not “aris[e] out of” the licensing agreements, and

those agreements are irrelevant to the instant jurisdiction analysis. Moreover, each of the

licensing agreements specifically restricts the Licensee’s “permitted area of use” to China,

further undercutting the argument that any credit card transactions provide a nexus with New

16
    One of the banks, Bank of Communications, maintains a settlement account associated with
its acquiring bank activities at JP Morgan-USA in New York. This settlement account is an all-
purpose account that is not specific to any merchant to whom it provides services. Payments
associated with all credit card transactions for which the bank serves as an acquirer (e.g.,
merchant payments, returns, and chargebacks) are credited and debited to this account.
Thereafter, the bank will issue corresponding credits and debits to merchant accounts in China.
For the same reason that correspondent and intermediary bank accounts do not give rise to
specific jurisdiction, settlement accounts also cannot give rise to such jurisdiction given the
absence of any meaningful connection between the bank and the forum in relation to the
Judgment Debtors and their counterfeiting activities.
                                               17
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York. See Nagin Decl. Ex. 1 at MC000011, 17, 21, 25.

         Assignee’s invocation of Visa and MasterCard’s rules is similarly misplaced. Section 2.4

of the MasterCard rules states that

         [a]ny action initiated by a Customer . . . must be brought, if at all, only in the
         United States District Court for the Southern District of New York or the New
         York Supreme Court for the County of Westchester, and any Customer involved
         in an action hereby submits to the jurisdiction of such courts and waives any
         claim of lack of personal jurisdiction . . . .

Weigel Decl. Ex. 255 at 53. While the Banks arguably qualify as “Customer[s]” under the

MasterCard rules,17 this dispute is not an “action initiated by” the Banks, nor is it a case brought

against MasterCard. This jurisdictional provision is, of course, entirely irrelevant to the present

dispute. Assignee’s reliance on the Visa rules is even more mystifying, as these rules make no

reference to personal jurisdiction at all. See Weigel Decl. Ex. 248.

         Finally, Assignee relies on Forbse to argue for personal jurisdiction based on the

acquiring bank activities of the three banks. Opp. at 15. Crucially, however, the court in Forbse

did not find a sufficient basis upon which to exercise specific personal jurisdiction based on the

banks’ role as acquiring banks. Rather, general jurisdiction was presumed because the case was

decided prior to the Supreme Court’s decision in Daimler, and at that time, the mere presence of

a New York branch sufficed to establish general jurisdiction over a non-U.S. bank. That is no

longer the case. See Daimler v. AG Bauman, 134 S. Ct. 746, 760-61 (2014); Gucci Am. Inc. v.

Bank of China, 768 F.3d 122, 129 (2d Cir. 2014) (“Gucci III”). Forbse thus provides no support

for extending personal jurisdiction in this case based on acquiring bank activities.18


17
     Chung Supp. Decl. Ex. 30 at 282.
18
   Assignee states that a subpoena to Visa remains pending. Opp. at 16. The Banks respectfully
reserve the right request permission to address any additional documents produced by Visa in
response to the subpoena that Assignee submits in conjunction with its reply memoranda of law
in support of its Motion to Compel.
                                                 18
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       D. Assignee’s Other Evidence of Purported “New York Ties” Is Irrelevant to a
          Specific Jurisdiction Analysis

       Assignee has produced a ream of exhibits purporting to show any connections that the

Banks have with the forum, apparently operating under the assumption that if it bombards the

Court with enough evidence of New York contacts—no matter how irrelevant to the underlying

action and discovery sought—the Court is bound to find a basis for personal jurisdiction

somewhere. Opp. at 14 n. 8 and Grossbaum Decl. Exs. 1-2. Assignee’s attempt to persuade the

Court to replace the traditional specific jurisdiction analysis with the now-discredited approach

of “all purpose” or general jurisdiction (as rejected in Daimler, 134 S. Ct. at 760-62) should not

be permitted here.

       To satisfy the requirements for specific jurisdiction, the Banks’ New York contacts must

be related to the underlying action (and in the context of third party discovery, the subject matter

of the discovery order). See ECF No. 70 (Motion to Quash) at 8-9; Walden, 134 S. Ct. at 1121;

N.Y. C.P.L.R. § 302(1); Gucci III, 768 F.3d at 141 (noting that at least one circuit has applied the

specific jurisdiction test to nonparty discovery requests “by focusing on the connection between

the nonparty’s contacts with the forum and the discovery order at issue.”). Critically, Assignee

“must demonstrate that the Foreign Banks’ suit-related conduct creates minimum contacts with

New York . . . not simply that the Foreign Banks have a presence here or conduct business

activities here in general.” 7 W. 57th St. Realty Co., LLC v. Citigroup, Inc., 2015 WL 1514539,

*10 (S.D.N.Y. Mar. 31, 2015) (citing Walden, 134 S. Ct. at 1121) (emphasis added); see also

Sullivan v. Barclays PLC, 2017 WL 685570, *43 (S.D.N.Y. Feb. 21, 2017) (“In contrast to

general, all-purpose jurisdiction, specific jurisdiction is confined to adjudication of issues

deriving from, or connected with, the very controversy that establishes jurisdiction.”).

       Here, Assignee’s evidence of so-called “New York ties”—the Banks’ New York

                                                19
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branches, real property ownership in New York, participation of the New York branches in the

CHIPS and Fedwire payment systems, holding of mortgages on New York property, registration

with the New York Department of Financial Services, advertising of financial services provided

by the New York branches, charters in New York, and FDIC insurance—all amount to nothing

more than evidence of “conduct[ing] business activities here in general.” 7 W. 57th St. Realty

Co., 2015 WL 1514539, at *10. Assignee does not show how these factors give rise to specific

jurisdiction, nor could it, as none bears any relation at all to the underlying trademark action or to

the subject matter of Assignee’s discovery requests. See SPV OSUS, Ltd., F.3d 333 at 344

(“‘[A] defendant’s general connections with the forum are not enough’ to support the exercise of

specific jurisdiction.”) (quoting Bristol Myers Squibb Co. v. Superior Court of Calif., San

Francisco Cty., 137 S. Ct. 1773, 1781 (2017)).

       E. Assignee Fails to Show That The Exercise of Specific Jurisdiction on The
          Grounds Asserted Here Would Be Reasonable

       Assignee also has not shown that the exercise of jurisdiction comports with traditional

notions of fair play and substantial justice. Licci I, 673 F.3d at 59-60; Gucci III, 768 F.3d. at 136

(quoting Burger King Corp., 471 U.S. at 472). Although Assignee marches through the five-

factor “reasonableness” test associated with the due process analysis,19 its arguments are

unconvincing. It is not reasonable for this Court to exercise specific jurisdiction over non-U.S.

banks on the basis of routine and automated correspondent account transactions that are

processed daily in this jurisdiction in significant volumes, credit card processing transactions that


19
    The five factors to be considered are: “(1) the burden that the exercise of jurisdiction will
impose on the defendant; (2) the interests of the forum state in adjudicating the case; (3) the
plaintiff’s interest in obtaining convenient and effective relief; (4) the interstate judicial system’s
interest in obtaining the most efficient resolution of the controversy; and (5) the shared interest
of the states in furthering substantive social policies.” Chloe v. Queen Bee of Beverly Hills,
LLC, 616 F.3d 158, 164-65 (2d Cir. 2010).
                                                  20
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take place abroad, and a hash of other purported New York connections with no connection to

the underlying dispute. The Banks addressed the five-factor test fully in their Motion to Quash

at pages 13-16. The Banks respond further here solely to Assignee’s position regarding the

interests of the forum state.

         Asserting personal jurisdiction here runs directly counter to New York’s interests as an

international financial center. If this Court were to find that the passive receipt of funds into a

U.S. correspondent account constituted a sufficient basis for personal jurisdiction in New York,

New York courts would open themselves up to every international tort case where payment to or

by a defendant is made in U.S. dollars and cleared through New York banks. All that a plaintiff

would be required to show to establish specific personal jurisdiction over a non-party bank is that

(1) the bank maintains a correspondent account with a New York bank through which its

customers’ U.S. dollar-denominated payments are cleared and settled; and (2) any wire payment

with any connection whatsoever to some civil suit has been received into the non-U.S. bank’s

New York correspondent account. Were Assignee’s overly broad interpretation of jurisdiction

adopted, New York courts would find themselves flooded with suits “every time one foreign

national, effecting what is alleged to be a fraudulent transaction, moves dollars through a bank in

New York.” Mashreqbank PSC v. Ahmed Hamad Al Gosaibi & Bros., Co., 23 N.Y.3d 129, 137

(N.Y. 2014); see also Shipping Corp. of India v. Jaldhi Overseas PTE Ltd., 585 F.3d 58, 62 (2d

Cir. 2009) (acknowledging the errors and “unforeseen consequences” of a prior holding that

electronic funds transfers passing though intermediary banks were subject to maritime

attachment in New York, which resulted in plaintiffs filing “962 lawsuits seeking to attach a total

of $1.35 billion,” within a four month period, totaling “33% of all lawsuits filed in the Southern

District . . .”).


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       New York’s interests would not be served by overburdening its courts in this manner, a

fact that courts have repeatedly recognized in declining to extend jurisdiction based on wire

transfers passing through New York.20 See, e.g., Daventree Ltd. v. Republic of Azer., 349 F.

Supp. 2d 736, 764 (S.D.N.Y. 2004) (declining to exercise jurisdiction because “plaintiffs’ factual

allegations regarding [defendants’] wire transfers and cash transfer do not suffice to demonstrate

the existence of ‘minimum contacts’”); Casio Comput. Co. v. Sayo, 2000 WL 1877516, *26

(S.D.N.Y. Oct. 13, 2000) (“Although . . . the wire transfers reached bank accounts in the United

States, such conduct by defendants does not satisfy the level of minimum contacts required to

assert personal jurisdiction over them.”).

       Moreover, New York enjoys a status—long-recognized by this Court—“as a world

financial capital.”   First Union Nat’l Bank v. Banque Paribas, 135 F. Supp. 2d 443, 453

(S.D.N.Y. 2001). Consistent with New York’s interests in maintaining this status, the Court

should encourage non-U.S. banks to rely upon correspondent banks in New York to clear U.S.

dollar transactions, not discourage that practice by taking an expansive view of personal

jurisdiction for civil suits and third party discovery. Indeed, faced with the possibility of legal

risk arising from tenuous forum connections such as the receipt of funds into a correspondent

account, non-U.S. banks in need of legitimate correspondent banking services may very well be

incentivized to direct their business to cities other than New York. If non-U.S. banks were

driven to other jurisdictions, or were motivated to use other non-U.S. dollar currencies in order to

avoid being subjected to personal jurisdiction, New York banks could lose a significant business

that generates employment for citizens of this forum. Almanas ¶ 82. As such, New York’s

20
   Given the very few distinctions between the operations of correspondent banks and New York
branches of foreign banks acting as intermediary banks in the international funds transfer system,
it would also be unreasonable for the Court to assert personal jurisdiction over Bank of China
based on its New York branch’s intermediary services. See supra at 14.
                                                22
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critical interest in protecting the expectations of the international banking system and in

maintaining its status as an international financial center provides another reason why

jurisdiction would be unreasonable here.21

       Forum interests also do not support the exercise of specific jurisdiction over non-U.S.

banks that provide acquiring bank services for merchants in the Visa and MasterCard payment

networks. Even if the Court were to find the existence of minimum contacts on the basis of the

sparse New York contacts associated with these transactions (if any), the exercise of personal

jurisdiction would be highly unreasonable and, indeed, border on irrational. The Court would

essentially open itself (and other New York courts) to the exercise of jurisdiction over parties

involved in processing any credit card transaction in the world that is processed through the

MasterCard or Visa network. See Project Honey Pot, 2012 WL 1854184, *7 (E.D. Va. May 21,

2012) (finding personal jurisdiction based on Visa network participation would not be reasonable

as it would implicate any bank around the world that processes Visa transactions).




21
   See also Jaldhi, 585 F.3d at 62 (“Undermining the efficiency and certainty of fund transfers in
New York could, if left uncorrected, discourage dollar-denominated transactions and damage
New York's standing as an international financial center.”); Lan Assocs. XVIII, L.P. v. Bank of
N.S., 96 Civ. 1022 (JFK), 1997 WL 458753, *6 (S.D.N.Y. Aug. 11, 1997) (“Were such a
minimal contact [alleged wire transfers] with New York to be deemed significant, this Court,
located in one of the world’s largest and busiest financial centers, would be burdened with
countless international financial disputes having no real, substantive link to New York.”);
Motorola v. Standard Bank, 24 N.Y.3d 149, 162 (N.Y. 2014) (given “New York’s status as the
preeminent commercial and financial nerve center of the Nation and the world,” construing
jurisdiction too broadly could “result in serious consequences in the realm of international
banking to the detriment of New York's preeminence in global financial affairs.”).
                                               23
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II.    THE GLOBAL ASSET RESTRAINT IN THE FINAL ORDER SHOULD BE
       MODIFIED

       The Banks are entitled to a modification of the asset restraint in the Final Order on the

basis of the separate entity rule in New York, the lack of personal jurisdiction (see supra at 4-23),

and principles of international comity (see infra at 27-33). Assignee’s attempts to discredit the

Banks’ arguments as either “unripe” or precluded by the “law of the case” are based on a

mischaracterization of the Final Order and this Court’s prior rulings. Opp. at 8-9. Additionally,

none of the authority cited by Assignee can overcome the clear holding in Motorola that the

separate entity rule “prevents a judgment creditor from ordering a garnishee bank operating

branches in New York to restrain a judgment debtor’s assets held in foreign branches of the

bank”. Motorola, 24 N.Y.3d at 158; see also Motorola Credit Corp. v. Standard Chartered Bank,

771 F. 3d 160, 161 (2d Cir. 2014).

       Assignee now states that it is “not currently seeking an order compelling the Banks to

turn over their proceeds, simply discovery into the assets that the Banks currently hold for the

Judgment Debtors.” Opp. at 9. Of course, Assignee did in fact serve the Banks with notice of

the Final Order and instruct the Banks “to make sure that [the Banks] take all necessary steps to

comply with the terms of the Final Order, including restraining the accounts identified [in the

letter].” Chung Decl. Exs. 1, 3, 4; Chung Supp. Decl. Ex. 31. If Assignee does not in fact intend

to enforce the restraint against the Banks (as it suggests in its briefing), then this only further

supports the Banks’ contention that the Final Order should be modified to indicate that the asset

restraint is not applicable against the Banks.

       Contrary to what Assignee asserts, the Banks are not attempting to re-litigate an issue that

has already been decided. Although the Banks did object to the entry of the global asset

restraint, Judge Scheindlin never ruled on the merits of these objections but simply held that they

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were not “ripe” for adjudication at the time of the entry of the judgment. August 2015 Order,

ECF No. 48 at 2 (noting that “[t]he Banks raise three related objections to the asset freeze

provisions of the Proposed Default Judgment, none of which are ripe given that the Proposed

Default Judgment is directed entirely at Defendants and seeks no enforcement against the non-

party Banks.”). The law of the case doctrine applies only where the court “decides upon a rule of

law.” See Ariz. Premium Fin. Co. v. Emplrs Ins. of Wausau, 586 Fed. Appx. 713, 716-17 (2d

Cir. 2014) (finding law of the case doctrine inapplicable because relevant order “did not ‘decide

upon a rule of law’ in any relevant sense.”). Assignee does not explain how the Banks can be

subject to the “law of the case” doctrine here, when Judge Scheindlin specifically stated that she

was not ruling on the Banks’ objections.

       The Banks’ concerns regarding the extraterritorial application of the asset restraint in the

Final Order are thus ripe for resolution now. Assignee attempts to sidestep the issue by applying

Judge Scheindlin’s characterization of the Default Judgment, which she described as “directed

entirely at the Judgment Debtors and seek[ing] no enforcement against the Banks,” to the Final

Order. Opp. at 9. This description of the Final Order, however, is contradicted by its very terms,

which state that

               third party financial service providers, receiving actual notice of
               this Order by personal service or otherwise, are restrained and
               enjoined from transferring, withdrawing or disposing of any
               money or other assets into or out of any accounts held by,
               associated with, or utilized by Judgment Debtors . . . regardless of
               whether such money or assets are held in the U.S. or abroad.

ECF No. 62 ¶ 4 (emphasis added). Thus, the Final Order is not the “same as the Judgment,” as

Assignee incorrectly asserts, Opp. at 9, because unlike the default judgment,22 it purports to



22
    In contrast to the Final Order which expressly requires “third party financial service
providers” to restrain Judgment Debtors’ assets, the Default Judgment provides that “all
                                          25
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require the Banks to freeze judgment debtor assets no matter where they may be located,

including in China. The Final Order also provides that third parties affected by its terms shall

have the opportunity to move for a modification of the order, or at the very least, a clarification

of its terms. ECF No. 62 ¶¶ 10, 14. Such a provision would not be included in the order unless

it was contemplated that the terms would be binding on third parties (not just the Judgment

Debtors). Thus, Assignee’s attempt to discredit the Banks’ dispute as unripe is incorrect.

       Finally, Assignee misses the mark when it asserts that restraint provisions may apply

extraterritorially against the Judgment Debtors as long as the Court has personal jurisdiction over

them. Opp. at 9-10 (citing Gucci III, 768 F.3d at 129). The Banks do not dispute that the

restraint may be enforced against the Judgment Debtors. What they dispute is the enforcement

of the restraint over the nonparty Banks for whom (1) there is no basis of personal jurisdiction

and (2) the separate entity rule applies. The Second Circuit held in Gucci that an asset restraint

cannot be enforced against a non-party bank unless the Court has personal jurisdiction over that

non-party. Gucci III, 768 F.3d at 134 (“A district court can enforce an injunction against a

nonparty . . . only if it has personal jurisdiction over that nonparty.” (citing NML Capital, Ltd. v.

Republic of Argentina, 727 F.3d 230, 243 (2d. Cir. 2013)). Motorola made it clear that even

when the court has personal jurisdiction over a bank, the separate entity rule applies to prohibit

an asset restraint served on one branch of a bank from having an effect on other branches.

Motorola, 771 F.3d 160, 161; Motion to Quash at 17-18. Neither NML nor Kohler, as cited by

Assignee, which do not address the separate entity rule, challenge this finding. See Motorola,

771 F.3d at 161 (rejecting the argument that Kohler had abolished the separate entity rule).



Defendants’ Assets that have been previously identified as frozen or that were otherwise required
to be restrained in compliance with this Court’s Orders, continue to be restrained regardless of
whether the Defendants’ Assets are located in the United States or abroad. . .” ECF No. 49 ¶ 10.
                                                 26
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III.    AS A MATTER OF INTERNATIONAL COMITY, THE COURT SHOULD
        DECLINE TO ENFORCE THE SUBPOENAS AND THE FINAL ORDER
        AGAINST THE BANKS IN CHINA

        Even if this Court were to find a basis for specific jurisdiction over the Banks, principles

of international comity should compel the Court to refrain from enforcing the Subpoenas and the

Final Order against the Banks in China. The Banks have already explained in detail why the

comity factors require this outcome. See Motion to Quash at 18-25. While the Banks will not

restate those arguments here, there are three factors that carry particular relevance for a comity

analysis: (1) the availability of the Hague Convention as an alternative to U.S. discovery

proceedings; (2) China’s significant interests in ensuring compliance with its banking laws; and

(3) the United States’ minimal interests in supporting the private interests of a litigation funder.

        The Hague Convention.         While the Banks maintain that there are no grounds for

personal jurisdiction here, the Court need not even reach a decision on that issue, given that the

Hague Convention provides a perfectly viable alternative means of obtaining the information

Assignee seeks. The Banks have made it clear that they are willing to work with Assignee to

produce documents via the Hague Convention and, indeed, on prior occasions have assisted

plaintiffs in trademark actions with their Hague Convention applications. Chung Decl. Ex. 9

(January 8, 2018 Letter from White & Case to Gibson Dunn stating that “the Banks are open to

cooperating with you on a Hague Convention request and are willing to discuss the provision of

reasonable assistance with a request to the relevant Chinese authorities.”); Chung Supp. Decl.

Ex. 32 ¶ 20 (Hague Application in Tiffany v. Qi Andrew, 2010 Civ. 9471 (WHP) (HPB)

(S.D.N.Y. Nov. 2, 2011) (stating that “[t]he Banks have cooperated with Plaintiffs in the

submission of this Letter of Request, and have agreed not to object to it”); Ex. 33 ¶ 19 (Hague

Application in Tiffany v. Forbes, 2011 Civ. 4976 (NRB) (S.D.N.Y. June 21, 2012) (same)).


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       Moreover, China’s Ministry of Justice—the governmental body authorized to receive and

respond to requests under the Hague Convention—has written to this Court with regard to the

pending action to confirm that it will “execute a [Hague Convention request] according to the . . .

Convention and Chinese laws” and “take [a Hague Convention request] seriously and offer

necessary legal assistance.” Chung Supp. Decl. Exs. 34, 35 (Ltrs. from Chinese Ministry of

Justice). The willingness of the Banks and the Ministry of Justice to cooperate with Assignee on

a Hague Convention request, in lieu of subjecting the Banks to the legal processes of a U.S.

court, could not be more patent.

       Despite Assignee’s protests to the contrary, there is no evidence that a Hague Convention

request would be unreliable or introduce significant delay. In recent years, the rates at which

Hague Convention requests have been processed in China have increased, and China’s rate of

processing such requests is now comparable to that of the United States. See Guo Supp. Decl. ¶

34. In the two prior instances where plaintiffs (also represented by Assignee’s counsel) were

required to submit an application for discovery of customer account information through the

Hague Convention, their requests were responded to within the standard time frame of nine

months. Tiffany (NJ) LLC v. Qi Andrew, 2015 WL 3701602 (S.D.N.Y. Jun. 15, 2015); Forbse,

2012 WL 1918866. Given that the Ministry of Justice has indicated that it will “offer necessary

legal assistance” with regard to a Hague Convention request issued in connection with this

action, there is no reason to believe that the response time will be unduly protracted in this

instance.23



23
    In any event, Assignee’s concerns regarding the potential for delay caused by a Hague
Convention application should also be considered in the context of its own delays in seeking
post-judgment discovery in this action. The default judgment in this action was entered on
August 20, 2015. ECF No. 49. Assignee did not begin its post-judgment discovery efforts
against the Banks until October 2017, more than two years after the entry of the judgment.
                                            28
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       Moreover, Assignee’s dismissal of the productions made pursuant to the Hague

Convention in Qi Andrew and Forbse is unpersuasive. Opp. at 19-20; Clark Decl. ¶¶ 57-59.

Notably, after following the Hague Convention process, the plaintiffs in Qi Andrew were able to

identify new defendants, thus demonstrating the process’s utility. See Guo Supp. Decl. ¶ 35;

Tiffany (NJ) LLC v. Qi Andrew, 2012 WL 5451259, *2 (S.D.N.Y. June 15, 2015). Magistrate

Judge Pittman rejected plaintiffs’ challenge to the sufficiency of the Hague Convention

production, deeming it “sufficient for plaintiffs to continue their investigation concerning the

counterfeit goods at issue” and dismissing complaints about non-produced evidence as “at most,

a small step that may or may not lead to the goal [of identifying the source of the counterfeit

merchandise].” Qi Andrew, 2012 WL 5451259, at *2, 3. Plaintiffs did not even challenge the

sufficiency of the Hague Convention production in Forbse. See Guo Supp. Decl. ¶ 35.

       China’s Interests. There can be no doubt China has a significant interest in ensuring

that the Banks are not forced to disclose customer information in a manner that would violate

China’s bank secrecy laws. Indeed, protecting the privacy of personal financial information

promotes the integrity of and confidence in the banking system of China, which in turn promotes

economic growth and China’s national interests. Two Chinese governmental ministries, the

Ministry of Justice (the equivalent to the U.S. Department of Justice) and the China Banking

Regulatory Commission (“CBRC”), and the central bank of China (the People’s Bank of China,

or “PBOC”), have written to this Court on various occasions to express strong opposition to any

Moreover, rather than commencing the Hague Convention request process immediately,
Assignee chose to subpoena the Banks and subject them to a discovery dispute that has already
lasted more than six months (and will last, at a minimum, several months more). Had Assignee
initiated a Hague Convention request six months ago, it would be well on its way to receiving the
requested discovery, even assuming the typical nine-month processing time. It should not now
be able to invoke concerns regarding “delay” to overcome China’s vital interest in maintaining
its banking laws and regulations.


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order that would compel a Chinese bank to violate Chinese privacy laws. It would undoubtedly

be a significant affront to the Chinese government if the Court were to compel state-owned

financial institutions to violate Chinese law. See Clarke Decl. ¶¶ 21-26 (detailing the Chinese

government’s ownership interest in the six banks).

       In submissions to this Court, the Ministry of Justice has indicated that “[a]ny bank

records or other evidence possessed by these banks . . . can only be collected by the Chinese

Competent Authority through legal procedures.” See Chung Supp. Decl. Exs. 34, 35 (Ltr. from

Chinese Ministry of Justice). It has further stated that the proper channel for Assignee’s requests

is through a Hague Convention application. Id. ¶ iii. Statements from the Chinese government

on the meaning and application of its own laws deserve deference and are a powerful factor in

the comity analysis weighing against the enforcement of the Subpoenas and Final Order. See In

re Vitamin C Antitrust Litig., 837 F.3d 175, 189 (2d. Cir. 2016) (“official statements of the

[Chinese] Ministry should be credited and accorded deference.”); see also Reebok Int’l v.

McLaughlin, 49 F.3d 1387, 1395 (9th Cir. 1995) (“We cannot arrogate to the federal courts the

power to control the banking systems of other countries within their own territory.”).

       In addition to the Ministry of Justice’s statements, the CBRC and PBOC often reiterated

China’s strong interest in ensuring compliance with banking laws and regulations, including the

bank secrecy laws and regulations at issue here, in submissions to courts in this Circuit. See Guo

Decl. ¶¶ 13-14; Guo Decl. Exs. B-20, B-21 (ECF Nos. 73-21, 73-22); Guo Supp. Decl. ¶¶ 13-18.

For example, in a letter to the Second Circuit, the CBRC and PBOC stated:

               The Chinese government has material interests in strictly enforcing
               [bank secrecy statutes and related regulations] to effectively
               protect the information of bank clients. China’s bank secrecy laws,
               like those of the United States, serve the important national interest
               of supporting stable growth in the banking sector. A key aspect of
               stable growth is ensuring the confidence of depositors and other

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               bank customers in the nation’s banking systems. All bank
               customers must be able to rely on the assurance that banks will not
               interfere with their deposits or disclose information relating to
               them unless permitted to do so by the customer, or unless required
               to do so under Chinese law.

Guo Decl. Ex. B-20, at 2; see also Ex. B-21, at 2. The CBRC and PBOC have also noted that

any bank that violates the prohibitions on the disclosure of information relating to customer

accounts or the restraint of such accounts (absent authorization from the competent Chinese

authorities) faces the prospect of civil and administrative penalties under the relevant laws, in

addition to being subject to investigation by the CBRC and PBOC. Guo Decl. Exs. B-20, at 2-3;

Ex. B-21, at 3. In light of the CBRC and PBOC’s repeated assertions that enforcement measures

like those sought here will jeopardize China’s legal protections regarding bank secrecy,

Assignee’s attempt to dismiss these vital concerns as “not reflect[ing] a national policy entitled

to substantial deference,” Opp. at 23, and the similar conclusion of its Chinese law expert,

Donald Clarke, that “there is no state policy affording a high degree of protections to clients of

Chinese banks,” are simply unfounded. Clarke Decl. ¶ 10(e).

       Assignee downplays China’s interests here by claiming that the absence of proof of

sanctions for violations of bank secrecy laws means that these are not real interests entitled to

deference. Opp. at 24. Assignee further concludes, without any basis, that the Banks’ state-

ownership will render them immune from prosecution for violations of the relevant Chinese

laws. Id. at 24; Clarke Decl. ¶¶ 20-38; Guo Supp. Decl. ¶¶ 6-12. Assignee puts the cart before

the horse: requiring the Banks to show that they have been punished (essentially requiring them

to violate the applicable laws and meet the resultant consequences) in order prove that they will

be punished in this instance. There is no need to impose this unreasonable burden of proof on

the Banks, especially in their capacity as non-parties here. See CE Int’l Res. Holdings, LLC v.


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S.A. Minerals Ltd. P’ship, 2013 WL 2661037, *15 (S.D.N.Y. June 11, 2013) (CM) (SN) (“The

requirement that an entity resisting disclosure must provide specific instances of enforcement is

relaxed, however, where that entity is a non-party to the action.”); Tiffany (NJ) LLC v. Qi

Andrew, 276 F.R.D. 143, 158 (S.D.N.Y. 2011) (holding that banks’ “status as non-parties weighs

against compelling production of documents in violation of Chinese law” and that banks “need

not prove that they will certainly be punished if forced to comply with plaintiffs’ subpoenas. . .”).

It is sufficient that China’s laws plainly state that customer privacy must be protected, and that

the Ministry of Justice, CBRC, and PBOC have all weighed in to express their significant

concerns regarding the enforcement of discovery orders and asset restraints against the Banks in

China.

         U.S. Interests.   In contrast to China’s interests, the United States’ interests in this

judgment enforcement dispute are minimal. Assignee repeatedly invokes the United States’

“powerful interest in enforcing the acts of Congress, especially those . . . that are designed to

protect intellectual property rights . . . .” Opp. at 23 (citing Gucci Am., Inc. v. Weixing Li, 2011

WL 6156936, *11 (S.D.N.Y. Aug. 23, 2011) (“Gucci I”)), but this argument rings hollow given

that the trademark holders in this action long ago transferred their rights to Assignee, a litigation

funder with no interest in strengthening intellectual property rights.24       Further, there is no



24
   The Assignment of Judgment to Assignee and the certificate of formation of Assignee were
both signed by Daniel Kochav, a Partner and Chief Operating Officer at Tenor. ECF No. 50;
Chung Supp. Decl. Exs. 36 (Tenor’s 2018 Form ADV); 37 (LinkedIn Profile of Daniel Kochav).
Tenor manages several investment funds dedicated to funding international and commercial
arbitration. See Chung Supp. Decl. Ex. 38 at 8-9 (Tenor SEC Brochure dated March 30, 2018)
(noting that Tenor’s investment “strategies include . . . litigation finance” and that certain of its
funds “invest in international & commercial arbitrations, a subset of litigation finance.”). For
example, Tenor has provided litigation funding to Chrystallex, a Canadian mining company
seeking to enforce a $1.4 billion arbitration award against the Bolivarian Republic of Venezuela,
in exchange for a share of any resulting judgment or settlement. Chung Supp. Decl. Ex. 39.
Counsel for Chrystallex is also counsel for Assignee in this action. Chung Supp. Decl. Ex. 40.
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suggestion that the Banks had any role in any trademark infringement. The attempt to reframe

this dispute as one grounded in serious intellectual property concerns is nothing more than a fig

leaf for Assignee’s commercial interests. In reality, this dispute concerns nothing more than

collecting a judgment, and the issues in contention now would be the same regardless of the

underlying claim.

       Moreover, the Banks’ status as non-parties “attenuate[s] the United States’ interest in

enforcing discovery obligations” on them. Forbse, 2012 WL 1918866, at *6. Accordingly, the

United States’ interests in this dispute are secondary and do not justify the issuance of an order

that would require the Banks to violate the laws of their home country.

                                        CONCLUSION

        For the foregoing reasons, the Court should quash the Subpoenas, modify the Final

 Order insofar as it purports to apply outside of New York, and deny the Motion to Compel.

Dated: April 27, 2018                               /s/ David G. Hille
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